      Case 4:20-cv-00476-LPR-PSH Document 18 Filed 10/05/20 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

TERRY LAMAR MCCOY                                                                  PLAINTIFF

v.                            Case No. 4:20-cv-00476-LPR-PSH

LAFAYETTE WOODS, JR
Sheriff, Jefferson County                                                        DEFENDANT

                                            ORDER

       The Court has received proposed Findings and Recommendations from Magistrate Judge

Patricia S. Harris (Doc. 13). No objections have been filed. After careful review of the Findings

and Recommendations, as well as the record, the Court concludes that the Findings and

Recommendations should be, and hereby are, approved and adopted in their entirety as this Court’s

findings in all respects. Therefore, Mr. McCoy’s Motion for Default Judgment (Doc. No. 10) and

Motion for Summary Judgment (Doc. No. 12) are DENIED.


       IT IS SO ORDERED this 5th day of October 2020.



                                                    ________________________________
                                                    LEE P. RUDOFSKY
                                                    UNITED STATES DISTRICT JUDGE
